         Case 2:20-bk-21020-BR Doc 483 Filed 04/12/24 Entered 04/12/24 21:16:00                                                                     Desc
                             Imaged Certificate of Notice Page 1 of 8
                                                              United States Bankruptcy Court
                                                               Central District of California
In re:                                                                                                                 Case No. 20-21020-BR
Thomas Vincent Girardi                                                                                                 Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0973-2                                                  User: admin                                                                 Page 1 of 6
Date Rcvd: Apr 10, 2024                                               Form ID: pdf042                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 12, 2024:
Recip ID                 Recipient Name and Address
db                     + Thomas Vincent Girardi, 1126 Wilshire Boulevard, Los Angeles, CA 90017-1904

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 12, 2024                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on April 10, 2024 at the address(es) listed below:
Name                               Email Address
Alan W Forsley
                                   on behalf of Creditor C.F. an individual alan.forsley@flpllp.com, awf@fkllawfirm.com,awf@fl-lawyers.net,addy@flpllp.com

Alan W Forsley
                                   on behalf of Creditor Jaime Ruigomez alan.forsley@flpllp.com awf@fkllawfirm.com,awf@fl-lawyers.net,addy@flpllp.com

Alan W Forsley
                                   on behalf of Interested Party Courtesy NEF alan.forsley@flpllp.com awf@fkllawfirm.com,awf@fl-lawyers.net,addy@flpllp.com

Alan W Forsley
                                   on behalf of Plaintiff Christina Fulton alan.forsley@flpllp.com awf@fkllawfirm.com,awf@fl-lawyers.net,addy@flpllp.com

Alan W Forsley
                                   on behalf of Creditor Joseph Ruigomez alan.forsley@flpllp.com awf@fkllawfirm.com,awf@fl-lawyers.net,addy@flpllp.com

Alan W Forsley
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District/off: 0973-2                                       User: admin                                                              Page 2 of 6
Date Rcvd: Apr 10, 2024                                    Form ID: pdf042                                                         Total Noticed: 1
Ambrish B Patel
                          on behalf of Creditor Ally Bank Lease Trust - Assignor to Vehicle Asset Universal Leasing Trust (a.k.a. "VAULT TRUST" or
                          "V.A.U.L. Trust", or "VAULT", or "V.A.U.L.T."), c/o AIS Port apatelEI@americaninfosource.com

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Carmela Pagay
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Carmela Pagay
                          on behalf of Plaintiff Jason M. Rund Chapter 7 Trustee for the bankruptcy estate of Thomas Vincent Girardi ctp@lnbyg.com

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Craig G Margulies
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                          Vicky@MarguliesFaithlaw.com;Angela@MarguliesFaithlaw.com
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District/off: 0973-2                                         User: admin                                                              Page 3 of 6
Date Rcvd: Apr 10, 2024                                      Form ID: pdf042                                                         Total Noticed: 1
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Richard P Steelman, Jr
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Timothy J Yoo
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Timothy J Yoo
         Case 2:20-bk-21020-BR Doc 483 Filed 04/12/24 Entered 04/12/24 21:16:00                                                          Desc
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District/off: 0973-2                                          User: admin                                                              Page 6 of 6
Date Rcvd: Apr 10, 2024                                       Form ID: pdf042                                                         Total Noticed: 1
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United States Trustee (LA)
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William F Savino
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Zachary Page
                             on behalf of Trustee Jason M Rund (TR) ztp@lnbyg.com

Zachary Page
                             on behalf of Plaintiff Jason M. Rund Chapter 7 Trustee for the bankruptcy estate of Thomas Vincent Girardi ztp@lnbyg.com


TOTAL: 113
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   4 Los Angeles, California 90034
                                                                    APR 10 2024
   5 Telephone: (310) 229-1234
       Facsimile: (310) 229-1244
                                                               CLERK U.S. BANKRUPTCY COURT
   6                                                           Central District of California
       Attorneys for Jason M. Rund                             BY toliver    DEPUTY CLERK
   7 Chapter 7 Trustee
   8
   9
  10                         UNITED STATES BANKRUPTCY COURT

  11                            CENTRAL DISTRICT OF CALIFORNIA
  12                                   LOS ANGELES DIVISION
  13
        In re                                  Case No. 2:20-bk-21020-BR
  14
        THOMAS VINCENT GIRARDI,                Chapter 7
  15
                                               ORDER GRANTING CHAPTER 7
  16                                 Debtor.   75867((¶6MOTION TO APPROVE
                                               COMPROMISE UNDER FRBP 9019 WITH
  17                                           CHRISTOPHER TERRENCE AUMAIS

  18                                           [No Hearing Required]
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   1           The Court, having considered the Chapter 7 Trustee¶s Motion to Approve Compromise

   2 Under FRBP 9019 with Christopher Terrence Aumais [Doc 474] ³0RWLRQ´ ILOHGE\-DVRQ0
   3 Rund, the Chapter 7 Trustee for the bankruptcy estate of Thomas Vincent Girardi (the
   4 ³7UXVWHH´ pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure and Local
   5 Bankruptcy Rule 9013-1(o), the memorandum of points and authorities and declaration filed
   6 therewith, the Trustee¶s Supplement thereto [Doc 476] DQGWKHGHFODUDWLRQRIWKH7UXVWHH¶V
   7 counsel certifying that no response and request for hearing concerning the Motion was timely
   8 filed [Doc 479], and good cause appearing,
   9           IT IS HEREBY ORDERED:

  10          1.       The Motion is granted;

  11          2.       The Settlement Agreement and Mutual Release WKH³$JUHHPHQW´ between the

  12                   Trustee and Christopher Terrence Aumais ³Aumais´ is approved; and

  13          3.       The Trustee and Aumais are authorized and directed to take any and all steps

  14                   necessary to effectuate the Agreement.

  15                                                 ###

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  24
       Date: April 10, 2024
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